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                                            August 12, 2021

Via Email (CHAMBERS_OF_JUDGE_JOEL_H_SLOMSKY@PAED.USCOURTS.GOV)

Honorable Joel H. Slomsky, U.S.D.J.
United States District Court for the Eastern District of Pennsylvania
601 Market Street, Room 13614
Philadelphia, PA 19106

         Re:  Shannon Phillips v. Starbucks Corporation d/b/a Starbucks Coffee Company
              Civil Action No. 19-19432 (District of New Jersey)
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Dear Judge Slomsky,

        My firm represents Plaintiff, Shannon Phillips, in the above-referenced matter. I write to
respectfully request an extension of the August 12, 2021 fact discovery deadline set forth in Your
Honor’s July 14, 2021 Fourth Amended Scheduling Order [Dkt. Ent. 57] to September 3, 2021.
Defendant, Starbucks Corporation d/b/a Starbucks Coffee Company, consents to this request.

        Pursuant to this Court’s July 14th Order granting Plaintiff’s Motion to Compel Discovery
[Dkt. Ent. 56], on August 3, 2021, Defendants produced 91 pages of documents pertaining to
Defendants’ internal investigation into allegations of pay disparities within Starbucks’
Philadelphia market. The contemplated extension is necessary to afford Plaintiff the opportunity
to conduct limited discovery regarding these recently produced documents. The Parties do not seek
changes to any other deadline contained within the operative Fourth Amended Scheduling Order.
A proposed Fifth Amended Scheduling Order is attached for Your Honor’s consideration and
review.

        Thank you for Your Honor’s time and attention to this matter.


                                                  Respectfully Submitted,

                                                  /s/ Katherine C. Oeltjen


KCO:db
cc:  All counsel of record (via email)
